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                        THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION


  In re:                                              §               Case No. 23-11007-cgb
                                                      §
  ARTIUS.ID, INC.,                                    §               Chapter 7
                                                      §
                  Alleged Debtor.                     §


             NOTICE OF INTENT TO REQUEST REDACTION OF TRANSCRIPT

           Notice is hereby given that Alleged Debtor, artius.iD, Inc., intends to request that this

  Court redact certain portions of the transcript of the proceedings on September 25, 2024, to

  preserve confidential, proprietary or trade secret information. Alleged Debtor, artius.iD, Inc.,

  will submit the redaction request on or before October 21, 2024, and the redacted transcript on or

  before October 30, 2024, per this Court’s rules.

  Dated: October 7, 2024                        Respectfully submitted,

                                                BAKER McKENZIE LLP

                                                By:        /s/ Mark D. Taylor
                                                          Mark D. Taylor
                                                          Texas Bar No. 19713250
                                                          mark.taylor@bakermckenzie.com

                                                1900 N. Pearl St., Suite 1500
                                                Dallas, Texas 75201
                                                Telephone: (214) 978-3000
                                                Facsimile: (214) 978-3099

                                                -and-

                                                Alexander D. Burch
                                                800 Capitol St., Suite 2100
                                                Houston, Texas 77002
                                                Telephone: (713) 427-5000
                                                Facsimile: (713) 427-5099
                                                alexander.burch@bakermckenzie.com


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                                              -and-

                                              Mark Bloom (admitted Pro Hac Vice)
                                              Sabadell Financial Center
                                              1111 Brickell Avenue, 10th Floor
                                              Miami, Florida 33131
                                              Telephone: (305) 789 8927
                                              Facsimile: (305) 789 8953

                                              COUNSEL FOR DEBTOR
                                              ARTIUS.ID, INC.

                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on October 7, 2024 a true and correct copy of the foregoing
  was served simultaneously upon docketing on all counsel of record or pro se parties identified on
  the attached Service List via transmission of Notices of Electronic Filing generated by CM/ECF
  or by first class U.S. mail on those counsel or parties who are not authorized to receive
  electronically Notices of Electronic Filing in this case.

                                               /s/ Mark D. Taylor
                                              Mark D. Taylor

  Electronic Notice by CM/ECF

  Jason Bradley Binford
  Ross, Smith & Binford, PC
  2901 Via Fortuna, Bldg. 6, Suite 450
  Austin, TX 78746
  jason.binford@rsbfirm.com

  See Attached Matrix

  Manual Notice

  None




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Label Matrix for local noticing       ArtiusID, Inc. 3                     United States Trustee (SMG17)
0542-1                                               801 Barton Springs                                   United States Trustee*
Case 23-11007-cgb                                    Austin, TX 78704-1146                                903 San Jacinto Blvd, Suite 230
Western District of Texas                                                                                 Austin, TX 78701-2450
Austin

U.S. BANKRUPTCY COURT                                ArtiusID, Inc.                                       ArtiusID, Inc.
903 SAN JACINTO, SUITE 322                           c/o Alexander D. Burch*                              c/o Robert T. DeMarco*
AUSTIN, TX 78701-2450                                BAKER & McKENZIE LLP                                 DeMarcoMitchell, PLLC
                                                     800 Capitol St., Suite 2100                          12770 Coit Road, Suite 850
                                                     Houston, Texas 77002-2947                            Dallas, TX 75251-1364

Collaborative Vision LLC                             Collaborative Vision LLC
c/o Cokinos Young                                    c/o Lynn Hamilton Butler*                            c/o Emma P. Myles
1221 Lamar 16th FL                                   Husch Blackwell LLP                                 Cokinos Young
Houston TX 77010-3039                                111 Congress Avenue, Suite 1400                     1221 Lamar Street, 16th Floor
Self-Terminated on 08/23/2024                        Austin, TX 78701-4093                               Houston, Texas 77010-3039
                                                                                                         Self-Terminated on 08/23/2024
Collaborative Vision, LLC                            Collaborative Vision, LLC                            Goldstein Consulting Services, LLC
c/o Kell C. Mercer, PC*                              c/o Tres Gibbs                                       c/o Michael T. Conway, Esq.*
901 S Mopac Expy Bldg 1 Ste 300                      Cokinos Young                                        Lazare Potter Giacovas & Moyle LLP
Austin, TX 78746-5883                                1221 Lamar, 16th Fl.                                 747 Third Avenue, 16th Floor
                                                     Houston, Texas 77010-3039                            New York, NY 10017-2856
                                                     Self-Terminated on 08/23/2024
Rearc LLC                                            Ron Satija, Chapter 7 Trustee                        United States Trustee - AU12
c/o Michael T. Conway, Esq.*                         c/o Todd Headden*                                    United States Trustee
Lazare Potter Giacovas & Moyle LLP                   Hayward PLLC                                         903 San Jacinto Blvd, Suite 230
747 Third Avenue, 16th Floor                         7600 Burnet Road, Suite 530                          Austin, TX 78701-2450
New York, NY 10017-2856                              Austin, TX 78757-1269                                c/o Shane P. Tobin*

Xmogrify                                             Alexander D. Burch*                                  Eric A Liepins*
c/o Michael T. Conway, Esq.*                         Baker McKenzie LLP                                   Legal Aid of Northwest Texas
Lazare Potter Giacovas & Moyle LLP                   700 Louisiana, Suite 3000                            1515 Main Street
747 Third Avenue, 16th Floor                         Houston, TX 77002-2871                               Dallas, TX 75201-4841
New York, NY 10017-2856

Mark D. Bloom*                                       Robert T DeMarco III*                                Ron Satija*
Baker McKenzie LLP                                   Robert Demarco                                       P.O. Box 660208
1111 Brickell Ave                                    12770 Coit Road                                      Austin, TX 78766-7208
Ste 10th Floor                                       Suite 850
Miami, FL 33131-3122                                 Dallas, TX 75251-1364

*Parties served by ECF


                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Collaborative Vision, LLC                         End of Label Matrix
c/o Lynn Hamilton Butler                             Mailable recipients     20
Husch Blackwell LLP                                  Bypassed recipients      1
111 Congress Avenue, Suite 1400                      Total                   21
Austin, TX 78701-4093
